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                       IN THE UNITED STATES DISTRICT COURT
                      FOR THE EASTERN DISTRICT OF VIRGINIA
                                  Alexandria Division

SIMRET SEMERE TEKLE,                )
                                    )
              Plaintiff,            )
                                    )
      v.                            )                Civil Action No. 1:18cv0211 (TSE/JFA)
                                    )
NOUF BINT NAYEF ABDUL-AZIZ AL )
SAUD, et al.,                       )
                                    )
              Defendants.           )
____________________________________)

                                   JOINT DISCOVERY PLAN

       Pursuant to the Court’s February 5, 2019 Order (the “Scheduling Order”) and Fed. R. Civ.

P. 26(f), Plaintiff Simret Semere Tekle and Defendants Nouf bint Nayef Abdul-Aziz al Saud and

Mohammad bin Abdullah al Saud (collectively “the parties”), through counsel, have conferred and

consented to the following discovery schedule:

       1.      Initial Disclosures Under Fed. R. Civ. P. 26(a)(1). The parties agree to exchange

initial disclosures regarding Plaintiff’s claims on or before March 15, 2019. The parties agree to

exchange initial disclosures regarding any counterclaims seven days after Plaintiff files an Answer

to such counterclaims. The parties do not propose to change the form or requirement for

disclosures under Rule 26(a)(1).

       2.      Confidentiality Order. The parties will file with the Court a proposed Stipulated

Protective Order governing the production of confidential information.

       3.      Discovery Commencement and Cut-Off. Discovery commenced upon receipt of

the Scheduling Order. Pursuant to the Scheduling Order, discovery shall be concluded by May

24, 2019.
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       4.      Limits on Discovery. The parties do not wish to limit or expand discovery beyond

the limits imposed pursuant to the Federal Rules of Civil Procedure, the Court’s Local Rules, and

the Scheduling Order.

       5.      Fact Discovery. All written fact discovery shall be served on or before April 24,

2019, so that responses to such discovery will be due on or before May 24, 2019 except that

requests to admit the authenticity of documents (if necessary) may be served no later than 15 days

prior to the Final Pretrial Conference, in which event responses shall be due within 10 days of

serving the Requests.

       6.      Depositions of Fact and Expert Witnesses. Depositions of fact and expert

witnesses shall be completed by May 24, 2019.

       7.      Expert Disclosures. The Plaintiff shall make expert disclosures as required by

Rule 26(a)(2) by March 25, 2019. Defendant’s expert disclosures shall be due on April 23, 2019.

Any rebuttal expert reports shall be due on May 3, 2019. The parties do not propose to change the

form or requirement for disclosures under Rule 26(a)(2).

       8.      Discovery of      Electronically-Stored      Information.       Electronically-stored

information, including but not limited to electronic mail (“e-mail”) and word processing files, shall

be produced in TIFF searchable format with metadata to the extent technically feasible or in any

other format agreed upon at the time of production. Spreadsheet files (e.g., Microsoft Excel) shall

be produced in native format. Production of such information shall otherwise be in accordance

with Rule 34(b). The media to be used in the production of electronically stored information shall

be via USB drive or other secured site. If any responsive electronically-stored information is not

reasonably accessible, i.e., is only accessible by incurring undue burdens or costs, the parties will

cooperate to identify alternative solutions to access such information. The parties will further




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attempt to meet and confer to discuss the issues of format, media, burdens, and costs. If an

agreement may not be reached regarding such information, the party seeking production may

petition the Court for an order compelling production under the applicable Federal and Local Rules

of Civil Procedure.

       9.      Dispositive Motions. Dispositive motions shall be filed on or before June 4, 2019.

Oppositions and Reply Briefs to dispositive motions shall be filed in accordance with the Court’s

Local Rules.

       10.     Service and Filing. Service and filing of pleadings in this case shall adhere to the

United States District Court for the Eastern District of Virginia Electronic Case Filing (ECF)

policies and procedures. The parties agree that service of notices of depositions, discovery

requests, and other papers not filed with the Court via ECF will be accepted by e-mail and that

service is complete upon and on the day of transmission.            Any attachments to notices of

depositions, discovery requests, and other papers not filed with the Clerk of Court shall be e-mailed

simultaneously with the underlying document, unless the parties expressly agree to additional time.

       11.     Settlement Prospect. The parties acknowledge that they have discussed their

claims and defenses and the possibility of settlement with their respective counsel but have not

discussed the particulars of a settlement of this case. Settlement discussions will continue as

discovery takes place. The parties do not believe that a settlement conference would be productive

at such an early stage of the case, without discovery having been carried out.

       The parties must complete all settlement and/or mediation efforts by June 20, 2019 (if the

parties do not file dispositive motions) or July 25, 2019 (if the parties file dispositive motions).

       12.     Pre-Trial Disclosures and Final Pretrial Conference.                 Pursuant to the

Scheduling Order, the parties shall appear before the Court on June 27, 2019 at 4:00 p.m. (if the




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parties do not file dispositive motions) or on August 1, 2019 at 4:00 p.m. (if the parties file

dispositive motions) for a final pretrial conference. On either June 13, 2019 (if the parties do not

file dispositive motions) or July 18, 2019 (if the parties file dispositive motions), the parties will

file with the Court (i) all remaining pretrial motions, including motions in limine and Daubert

motions, (ii) Rule 26(a)(3) disclosures, (iii) a list of the exhibits to be used at trial, (iv) a list of the

witnesses to be called at trial, and (v) a written stipulation of uncontested facts. Objections to

exhibits must be filed on either June 24, 2019 (if the parties do not file dispositive motions) or on

July 29, 2019 (if the parties file dispositive motions).

        13.     Trial by Magistrate. The parties do not wish to consent to trial by the Magistrate

Judge at this time.

        14.     Waiver of Initial Pretrial Conference. Should the Court determine the parties’

Joint Discovery Plan is acceptable, the parties hereby consent to waive appearance at the Initial

Pretrial Conference, which is currently scheduled to proceed on February 20, 2019 at 11:00 a.m.

        15.     Translations of Foreign-Language Documents.                 The parties agree that if they

have had documents translated for their own use (e.g., to determine if a foreign-language document

is responsive to a discovery request), they will produce the translation along with the original

document if the original document is responsive to a discovery request.

        16.     Privilege Issues.        The parties agree that any claims of privilege made within

discovery responses will be addressed in an appropriate log. However, communications between

client and litigation counsel, communications between litigation counsel, and work-product of

litigation counsel need not be so addressed. With the exception noted, the objecting party will

identify the responsive documents that are withheld and the basis for withholding in log form.

Each privilege log shall include, but not be limited to, the following information, where reasonably




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available: the date; author; addressee, copyee, and blind copyee; identity of any attorney named

on the privilege log; type of document; type or nature of the privilege asserted (e.g., attorney-client

privilege, work product doctrine, etc.); generic description of contents of the document that,

without revealing information itself privileged or protected, is sufficient to understand the subject

matter of the document and the basis of the claim of privilege or immunity; and the Bates Numbers

corresponding to the first and last page of any Document that has been redacted or withheld on the

basis of a claim of privilege or immunity. The privilege log will be produced no later than 7 days

after the production of discovery.


       17.     Inadvertent Production of Privileged Information.               In accordance with

Federal Rule of Civil Procedure 26(b)(5), inadvertent production of documents subject to work-

product immunity, the attorney-client privilege, or other privilege protecting information from

discovery shall not constitute a waiver of the immunity or privilege, provided that the producing

party promptly notifies the receiving party in writing of such inadvertent production. If reasonably

prompt notification is made, such inadvertently produced documents and all copies thereof, as well

as all notes or other work product reflecting the contents of such materials, shall be returned to the

producing party or destroyed, upon request of the producing party, and such returned or destroyed

material shall be deleted from any litigation-support or other database. No use shall be made of

such documents during depositions or at trial and the documents shall not be disclosed to anyone

who was not given access to them before the request to return or destroy. The party returning such

documents may move the Court for an order compelling production of the material. If a receiving

Party knows or should reasonably know that it has received documents subject to an immunity or

privilege, it shall promptly:




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   a. Sequester the documents;

   b. Refrain from using the documents and the portions of all work product that reflect or are
      derived from such documents;

   c. Promptly notify the disclosing party of the existence of such documents to permit the
      disclosing party to take protective measures as outlined above; and

   d. Upon request, comply with the procedures described above to destroy or delete the
      material.




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JOINTLY SUBMITTED:

Dated: February 13, 2019


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